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                                                                  May 8, 2019


The Hon. Edgardo Ramos
U.S. District Judge
Thurgood Marshall U.S. Courthouse
Courtroom 619
40 Foley Square
New York, NY 10007

Re:    Donald J. Trump et al. v. Deutsche Bank, AG et al., No. 1:19-cv-03826-ER

Dear Judge Ramos:

        After Plaintiffs filed their May 3 letter motion seeking expedited discovery, the
parties engaged in additional efforts to resolve this dispute. As a result of those
efforts, the Intervenor-Defendant Committees have agreed to provide Plaintiffs with
substantial portions of the subpoenas. Plaintiffs therefore withdraw their letter
motion, and see no need to proceed with the hearing scheduled on May 9 (subject, of
course, to the Court’s wishes). This withdrawal does not affect Plaintiffs’ pending
motion for a preliminary injunction.


                                             Sincerely,

                                             /s/ Patrick Strawbridge

cc:    Marc Mukasey, Esq.
       ECF Service List
                                              The conference previously
                                              scheduled for May 9, 2019, is
                                              hereby terminated.

                                              It is SO ORDERED.



                                                      5/8/2019
